               Case: 3:21-mj-00260-SLO Doc #: 1 Filed: 07/16/21 Page: 1 of 6 PAGEID #: 1
 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic
                                                                                     Means

                                                                                                                                             FILED
                                       UNIT ED STATES DIST RICT COU RT                                                               RICHARD W . NAGEL
                                                                         for the
                                                                                                                                      CLERK OF CO URT
                                                                                                                                            7/16/21
                                                           Southern District of Ohio                E]
               In the Matter of the Search of                                                                                       U.S. DIISTRICT COU RT
          (Briefly describe the property to be searched
                                                                              )                                                    SO UTHERN 0 1 ST. OH IO
                                                                              )                                                     WEST. DIV. DAYTON
           or identify the person by name and address)

                 Priority Mail Tracking Number
                                                                              )
                                                                              )
                                                                                             Case No.     3:21MJ260
                                                                                                                  0
                  9505516 1954911 9451519 1                                   )
                   postmar ked July 13, 2021                                  )

    APPLICATION FOR A WARR ANT BY TELEP HONE OR OTHER RELIA
                                                                                         BLE ELECTRONIC MEANS
         I, a federal law enforcem ent officer or an attorney for the government, request
 penalty of perjury that I have reason to believe that on the following person            a search warrant and state under
                                                                               or property (identify the person or describe the
property to be searched and give its location):
   Priority Mail Package 9505516 1954911 9451519 1, address ed to M. Wilson,
                                                                             1655 Hillside Ave , Springfield, OH 45503,
   with a return address of Pixie Toys, 3914 Atlantic Ave, Long Beach, CA 90807
 located in the        Souther n         District of             Ohio             , there is now conceal ed (identify the
person or describe the property to be seized) :
  Controlled Substan ces, materials and docume nts reflecting the distribution
                                                                               of controlled substan ces throught the U.S .
  Mails, including moeny and/or monetar y instruments to pay for controlled substan
                                                                                      ces
          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                 ii
                  evidenc e of a crime;
                 ii contraband, fruits of crime, or other items illegally possessed;
                 0 property designe d for use, intended for use, or used in commit ting a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

        21 uf8llf4fWH~~      1
                                                  Distribution and possess ion wiWi~~&1?cf'lft;ffi~8fe a controlled substan ce.
        21 USC 846                                Conspir acy to distribu te/posse ss with intent to distribute a controlled substan
        21 USC 843(b)                                                                                                                ce
                                                  Use of a communication facility to commit a felony
          The application is based on these facts:
        SEE ATTACHED AFFIDAVIT


          iiContinu ed on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days:
                                                                                                                                 requested under
            18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet




                                                                                             Brad M. Dorman , U.S . Postal Inspector
                                                                                                        Printed name and title
Attested to by the applicant in accorda nce with the requirements of Fed. R.
                                                                                   Crim. P. 4.1 by
              reliable electronic means                (specify reliable electronic means).


Date:      7/15/21
                                                                                                            :dge 's signature
City and state: Dayton, OH                                                                                  United States Magistrate Judge
                --       --------
                                                                                                            ted name and title
      Case: 3:21-mj-00260-SLO Doc #: 1 Filed: 07/16/21 Page: 2 of 6 PAGEID #: 2



                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


     IN THE MATTER OF THE SEARCH OF:
          PRIORITY MAIL PACKAGE                     Case No.    3:21MJ260
                                                               - - - - - - - --
            TRACKING NUMBER
           9505516195491194515191                   Filed Under Seal



                             AFFIDAVIT IN SUPPO RT OF
                      AN APPLIC ATION FOR A SEARC H WARRA NT


        I, Brad M Dorman, being first duly sworn, hereby depose and state as follows:

1.      I am a United States Postal Inspector and have been since August 2017. I am presently

assigned to the Cincinnati Field Office of the United States Postal Inspection Service, Pittsburg
                                                                                                  h
Division, with investigative responsibility for southeast Indiana and southern Ohio. Part
                                                                                          of my
responsibility involves investigating the use of the United States Mail in the transpor
                                                                                        tation of
narcotics,   other   dangerous   controlled   substances,    and   financial   proceeds   from,   or
instrumentalities used in, the sale of such narcotics and controlled substances (hereina
                                                                                         fter,
"Drugs and/or Proceeds").

2.      Based on my training and experience as a United States Postal Inspector, I have become

aware that drug traffickers frequently use United States Priority Mail Express (overnig
                                                                                        ht) or
Priority Mail (2-3-day) to transport Drugs and/or Proceeds. Additionally, as a result
                                                                                      of prior
investigations, law enforcement training, and successful controlled-substance prosecut
                                                                                       ions
involving the use of the United States Mail, I have learned of ce1iain common characte
                                                                                       ristics
and/or circumstances that indicate that a package may contain Drugs and/or Proceeds.
                                                                                     These
circumstances and/or characteristics include, but are not necessarily limited to, the followin
                                                                                              g:
the mailer uses different post offices on the same day to send packages, the return address
                                                                                            is false
or non-existent, the addressee is not known to receive mail at the listed delivery address,
                                                                                            the
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package is heavily taped, the package is mailed from a known drug source location, the labeling

information contains misspellings, the label contains an illegible waiver signature, unusual odors

emanate from the package, and the listed address is located in an area of known or suspected

drug activity.

3.     On or about July 14, 2021, the United States Postal Inspection Service (USPIS) Los

Angeles Division provided information to the USPIS Cincinnati Field Office that they had

intercepted two packages inbound for the Dayton, Ohio, area. The packages were mailed at the

same time from the same location. Los Angeles Inspectors mailed the two packages to Inspector

Dorman. On July 15, 2021, I received both packages. One Package is a Priority Mail medium

flat rate box, bearing tracking number 9505516195491194515191 , postmarked July 13, 2021,

with the following address information:

                                      Sender:        Pixie Toys
                                                     3914 Atlantic Ave
                                                     Long Beach, CA 90807


                                      Addressee:     M. Wilson
                                                     1655 Hillside Ave
                                                     Springfield, OH 45503


Through training and experience as a Postal Inspector, I know that Southern California is known

drug source location.

4.      I performed a check in CLEAR database for the addressee's information on the Package

of "M. Wilson, 1655 Hillside Ave, Springfield, OH 45503 ." CLEAR is a law enforcement

database that is used as a tool for investigators to identify person/business and address

information. According to CLEAR, there is a "Micah Wilson" associated with 1655 Hillside

Ave, Springfield, OH 45503 . CLEAR also shows that "Micah Wilson" does have a criminal

drug history.
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5.        I also performed a check in CLEAR for the sender's information listed on the Package of

"Pixie Toys, 3914 Atlantic Ave, Long Beach, CA 90807." According to CLEAR, there is a

"Pixie Toys" associated with 3914 Atlantic Ave, Long Beach, CA 90807 as "Heather Rasmussen

DBA Pixie Toys."

6.        On July 15, 2021, at my request, Dayton Police Department Officer Jeremy Stewart

conducted a narcotics-detection canine "free air" check of the outside of the Package. I was

present during said check. Prior to conducting the "free air" check, I placed the Package in a

room with multiple similar and like packages. As set forth in the attached affidavit of Officer

Stewart, "Weston" alerted positively for the presence or odor of a narcotic or other controlled

substance on the Package.       "Weston" is a properly trained and certified narcotics-detection

canine.
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7. Based on my prior law enforcement training and expenence as a United States Postal

Inspector, the Package's address information, including (i) known criminal drug history of

recipient, (ii) being mailed from a known drug source location, and (iii) the positive alert of the

narcotics-detection canine are all indicative of and consistent with Drugs and/or Proceeds in the

Package.

Therefore, a search warrant to open the Package is requested to search it for controlled

substances, materials and documents reflecting the distribution of controlled substances through

the U.S . Mails, including money and/or monetary instruments to pay for controlled substances,

as these materials would constitute evidence or fruits of a violation of 21 USC s. 841(a)(l)

(distribution of controlled substances), 21 USC s. 843(b) (use of a communication facility to

facilitate a felony drug offense) and 21 USC s. 846 (conspiracy to distribute controlled

substances).



Further, your affiant sayeth naught.


                                                  Respectfully submitted,



                                                 Brad MD man U.S. Postal Inspector
                                                 United tates Postal Inspection Service




                                           15
Subscribed and sworn to and before me this _ _ day of      July
                                                      - - - - - - , 2021.




HONORABLE SHARON L. OVINGTON
UNITED STATES MAGISTRATE JUDGE
    Case: 3:21-mj-00260-SLO Doc #: 1 Filed: 07/16/21 Page: 6 of 6 PAGEID #: 6




®
    UNITED STATES POSTAL INSPECTI ON SERVICE


    PITTSBURGH DIVISION




                                               OFFICER AFFIDAVIT


    I, Officer JEREMY STEWART, am and have been employed by the DAYTON POLICE

    DEPARTMENT since 2014. Among other duties, I am currently the assigned handler

    of narcotics detection canine "WESTON" which is trained and certified in the

    detection of the presence or odor of narcotics described as follows:

    Marijuana, Cocaine, Methamphetamine, and Heroin

    On 07/15/2021 , at the request of Postal Inspector DORMAN, I responded to the

    DAYTON P&DC, where "WESTON" did alert to and indicate upon: [describe item]

              USPS Priority Mail Tracking# 9505 5161 9549 1194 5151 91

              TO:         M. Wilson                         FROM: Pixie Toys
                          1655 Hillside Ave                        3914 Atlantic Ave
                          Springfield, OH 45503                    Long Beach, CA 90807


    Which, based upon my training and experience and that of "WESTON" , indicates

    there is contained within or upon the above described item, the presence or odor of

    a narcotic or other controlled substance.




    Cincinnati Fie ld Office
    895 Central Aven ue STE 400
    Cin cinn ati , OH 45202- 5748
    Telep ho ne: 877-876-2455
    FAX : 513-684-8009
